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 5
     Attorney for Defendant
     RONALD REEVES
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-365-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RONALD REEVES,                                  )
                                                     )
13
                                                     )       Date: July 11, 2014
                                                     )       Time: 9:00 a.m.
14
             Defendant.                              )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Justin Lee, Assistant
18

19   United States Attorney, together with counsel for defendant Ronald Reeves, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on June 6, 2014.
22
          2. By this stipulation, the defendant now moves to continue the status conference until July
23

24
     11, 2014 and to exclude time between June 6, 2014 and July 11, 2014 under the Local CodeT-4

25   (to allow defense counsel time to prepare).
26
          3. The parties agree and stipulate, and request the Court find the following:
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                                                         1
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     a. Counsel for the defendant needs additional time to review the discovery, conduct
 1

 2      investigation, and continue negotiations with prosecution in an effort to reach a

 3      resolution.
 4
     b. Currently the discovery in this case includes 129 pages and two video DVDs.
 5
     c. Counsel for the defendant has recently provided the government with numerous
 6

 7
        documents relating to the defendant. The government needs time to review the

 8      material and the parties need additional time to discuss a plea agreement. Additional
 9      time is also necessary to: meet with the defendant to review the anticipated proposed
10
        agreement; discuss statutory and USSG implications associated with the agreement;
11
        discuss consequences associated with a guilty plea (or verdict); discuss possible
12

13      defenses; discuss trial scenarios; and, options going forward. Additionally, based on

14      conversations between myself and counsel for the government, it is anticipated a draft
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        plea agreement will be provided shortly.
16
     d. Counsel for the defendant believes the failure to grant a continuance in this case
17
        would deny defense counsel reasonable time necessary for effective preparation,
18

19      taking into account the exercise of due diligence.

20   e. The Government does not object to the continuance.
21
     f. Based on the above-stated findings, the ends of justice served by granting the
22
        requested continuance outweigh the best interests of the public and the defendant in a
23
        speedy trial within the original date prescribed by the Speedy Trial Act.
24

25   g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

26      Section 3161(h)(7)(A) within which trial must commence, the time period of June 6,
27
        2014 to July 11, 2014, inclusive, is deemed excludable pursuant to 18 United States
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                Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code T-4
 1

 2              because it results from a continuance granted by the Court at defendant’s request on

 3              the basis of the Court’s finding that the ends of justice served by taking such action
 4
                outweigh the best interest of the public and the defendant in a speedy trial.
 5
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 6

 7
     Speedy Trial Act dictate that additional time periods are excludable from the period within which

 8   a trial must commence.
 9

10
        IT IS SO STIPULATED.
11

12
     Dated: June 3, 2014                                           /s/ John R. Manning
13                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
14                                                                Ronald Reeves
15
     Dated: June 3, 2014                                          Benjamin B. Wagner
16                                                                United States Attorney

17                                                        by:     /s/ Justin Lee
                                                                  JUSTIN LEE
18
                                                                  Assistant U.S. Attorney
19

20                                                ORDER
21

22
            IT IS SO FOUND AND ORDERED.
     Dated: June 4, 2014
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